           IN THE UNITED STATES DISTRICT COURT FOR THE
                   WESTERN DISTRICT OF MISSOURI
                         SOUTHERN DIVISION

UNITED STATES OF AMERICA,              )
                                       )
                       Plaintiff,      )
                                       )
     vs.                               )     No. 12-03009-01-CR-S-DW
                                       )
JOSE ALVAREZ,                          )
                                       )
                       Defendant.      )


                       REPORT AND RECOMMENDATION
                       CONCERNING PLEA OF GUILTY


     The Defendant, by consent, has appeared before me pursuant to

Rule 11, F.R.Cr.P., 22(k)(26), WDMO, and 28 U.S.C. '636, and has

entered a plea of guilty to Counts One and Six contained in the Second

Superseding Indictment filed on August 28, 2012.         After cautioning

and examining the Defendant under oath concerning each of the

subjects mentioned in Rule 11, I determined that the guilty pleas

were knowledgeable and voluntary, and that the offenses charged are

supported by a factual basis for each of the essential elements of

the offenses.   I therefore recommend that the pleas of guilty be

accepted and that the Defendant be adjudged guilty and have sentence

imposed accordingly.



Date: October 10, 2014                  /s/ James C. England
                                       JAMES C. ENGLAND
                                       UNITED STATES MAGISTRATE JUDGE




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                                NOTICE

     Failure to file written objections to this Report and
Recommendation within 14 days from the date of its service shall bar
an aggrieved party from attacking such Report and Recommendation
before the assigned United States District Judge. 28 U.S.C.
'636(b)(1)(B).




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